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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF ALABAMA
                         MONTGOMERY DIVISION

 SOUTHERN INDEPENDENT                        )
 BANK,                                       )
                                             )
         Plaintiff,                          )    Case No. 2:15-cv-00799-WKW-
                                             )    GMB
    v.                                       )
                                             )
 FRED’S, INC.,                               )
                                             )
         Defendant.                          )

               STIPULATION OF DISMISSAL WITH PREJUDICE
                  PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)(ii)

         The parties, Plaintiff Southern Independent Bank and Defendant Fred’s, Inc.,

by and through their counsel, hereby enter this Stipulation of Dismissal with

Prejudice Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure:

         On June 5, 2019, the parties executed a Confidential Settlement Agreement

and Release (the “Agreement”).

         Pursuant to the Agreement, the parties hereby stipulate that the above-

captioned action is hereby dismissed in its entirety, with prejudice, pursuant to Fed.

R. Civ. P. 41(a)(1)(A)(ii).
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Dated: June 17, 2019                     Respectfully Submitted,

/s/ Jay Aughtman            l            /s/ James A. Slater (with permission)
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                         CERTIFICATE OF SERVICE

      I hereby certify that the forgoing was filed with the Clerk of the Court via

the Court’s ECF system on June 17, 2019, which will electronically serve all

counsel of record.

                                             /s/ Jay Aughtman                  j
